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                                                                                                     UNITED STATES DISTRICT COURT
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                                                                                                  NORTHERN DISTRICT OF CALIFORNIA
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                                                                      MUSTAFA FTEJA,                                      Case No.: 12-cv-1010 YGR
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                                                                                                                          ORDER DISMISSING FOR FAILURE TO
                                                                  9                Plaintiff,                             PROSECUTE
                                                                 10          vs.
                                                                 11
                                                                      FACEBOOK, INC.,
                                                                 12
                                                                                    Defendant.
                               Northern District of California
United States District Court




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                                                                 14          On April 25, 2012, this Court issued an order (Dkt. No. 48) directing Plaintiff to file an
                                                                 15   opposition to Defendant Facebook, Inc.’s Motion to Dismiss or for a More Definite Statement within
                                                                 16   14 days and warning that “[f]ailure to file an opposition by that date will result in dismissal of the
                                                                 17   action for failure to prosecute.”
                                                                 18          To date, Plaintiff has not file an opposition to the motion, or any other document concerning
                                                                 19   the motion. Therefore, and pursuant to Federal Rule of Civil Procedure 41(b), this action is
                                                                 20   DISMISSED.
                                                                 21          IT IS SO ORDERED.
                                                                 22   Dated: May 9, 2012
                                                                                                                               _________________________________________
                                                                 23                                                                 YVONNE GONZALEZ ROGERS
                                                                                                                               UNITED STATES DISTRICT COURT JUDGE
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